          Case 2:06-cr-00248-PD Document 15 Filed 06/13/06 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                     :       DATE FILED:       _____________

               v.                            :       CRIMINAL NO._____________

RODNEY FRANCIS HICKS                         :       VIOLATION:
                                                     18 U.S.C. § 2113(a)
                                             :       (bank robbery - 1 count)


                              SUPERSEDING INFORMATION

                                         COUNT ONE

THE UNITED STATES ATTORNEY CHARGES THAT:

               On or about December 16, 2005, in Cheltenham, in the Eastern District of

Pennsylvania, defendant

                                 RODNEY FRANCIS HICKS

knowingly and unlawfully by force and violence, and by intimidation, took from employees of

the Wachovia Bank, lawful currency of the United States, that is, $970, belonging to, and in the

care, custody, control, management and possession of the Wachovia Bank, the deposits of which

were insured by the Federal Deposit Insurance Corporation.

               In violation of Title 18, United States Code, Section 2113(a).




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                                                     PATRICK L. MEEHAN
                                                     UNITED STATES ATTORNEY
